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                        UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                LAREDO DIVISION

IN RE:                                     §
                                           §
HELIODORO ALBERTO PEREZ, JR.               §              CASE NO. 20-50046
                                           §
                                           §              CHAPTER 7
DEBTOR(S)                                  §

                                NOTICE OF APPEARANCE

         PLEASE TAKE NOTICE that Donato D. Ramos and Donato D. Ramos, Jr., of the Law

Offices of Donato D. Ramos, P.L.L.C., enter their appearance in the above-captioned action as

counsel for Creditor, Plazas Pita Mangana, LLC.

                                    Respectfully submitted,
                                    LAW OFFICES OF DONATO D. RAMOS, P.L.L.C.
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                                    BY:     /s/ Donato D. Ramos, Jr.
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                                           ATTORNEYS FOR CREDITOR,
                                           PLAZA PITA MANGANA, LLC
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                               CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing has been served on all
necessary parties in accordance with FRBP 2002 on the date it was filed electronically or within
two business days thereafter.

                                   Via Electronic Notice:
                                        U.S. Trustee
                                606 N. Carancahua, Suite 1107
                                    Corpus Christi, Texas

                                  Via Electronic Notice:
                                     Chapter 7 Trustee
                                   Catherine Stone Curtis
                              Pulman, Cappuccio & Pullen, LLP
                                     P.O. Boxx 720788
                                  McAllen, Texas 78504

                                   Via Electronic Notice:
                                 Heliodoro Alberto Perez, Jr.,
                                    4434 Mercedes Drive
                                    Laredo, Texas 78046
                                           Debtor

                                     Carl Michael Barto
                                 Law Office of Carl M. Barto
                                    817 Guadalupe Street
                                    Laredo, Texas 78040
                                      Debtor’s Counsel

 And to all parties on the attached matrix not already listed above, VIA FIRST CLASS MAIL.




                                                   Donato D. Ramos, Jr.
                                                   DONATO D. RAMOS, JR.
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